     Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 1 of 10 PageID #:1945




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

KLAUBER BROTHERS, INC., a New York                    Civil Action No.: 1:23-cv-10407
corporation,
                                                       District Judge Thomas M. Durkin
Plaintiff,

v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

Defendants.


     PLAINTIFF'S MOTION TO COMPEL AND FOR SANCTIONS AS TO DEFENDANT

                 DONGYAN SHENGYU ELECTRONIC COMMERCE CO., LTD.

            Pursuant to Federal Rules of Civil Procedure 37 and Local Rule 37.2, Plaintiff, Klauber

 Brothers, Inc. (“Klauber”) bring this Motion to Compel Defendant, Dongyan Shungyu Electronic

 Commerce Co. Ltd. (“Dongyan”), to provide adequate responses to Klauber’s Requests for

 Production and Interrogatories. This Motion is supported by the below argument and authorities,

 the concurrently filed Declaration of Trevor W. Barrett (“Barrett Decl.”) and any additional

 materials or argument the Court may request. Opposing counsel did not respond with a preferred

 briefing schedule, Plaintiff would prefer to have the hearing set for September 19, 2024, with

 replies due one week prior and oppositions two weeks prior to the hearing date. Barrett Decl., ¶

 10.

       I.      INTRODUCTION

            On September 19, 2023, Klauber filed its Complaint against several Defendants, including

 Dongyan. (Dkt. #1.) Pursuant to the Complaint, Klauber seeks damages for Defendant’s willful

 infringement of his copyright in the lace textile design depicted therein. Thereafter, the Parties

                                                 1
                                         MOTION TO COMPEL
     Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 2 of 10 PageID #:1946




entered a joint discovery schedule, with the fact discovery cut off being August 21, 2024. (Dkt.

#169.)

         Klauber served Dongyan’s with Klauber’s first set of interrogatories and requests for

production on June 14, 2024. (Barrett Decl. ¶ 2.) The requests consisted of 17 interrogatories and

41 requests for production. (Barrett Decl. ¶ 2, Exh. 1.) Thus, Dongyan’s responses were due on

July 14, 2024. However, Dongyan failed to provide any written responses to the requests. Id. at ¶

3.

         On August 2, 2024, Klauber’s counsel served a meet and confer letter regarding

Defendants’ failure to respond to Klauber’s discovery requests. (Barrett Decl. ¶ 4.) In the letter,

Klauber reminded Defendant of its obligations under the Federal Rules and notified Defendant of

its intent to seek sanctions against Defendant and its counsel should Defendant fail to provide

adequate responses. (Barrett Decl. ¶ 4, Exh. 2.)

         Counsel for the Parties met and conferred telephonically on August 5, 2024, and Klauber’s

counsel advised that Dongyan quite simply failed to respond at all. Id. at ¶ 5. In an abundance of

caution Klauber’s counsel again sent the meet and confer letter to Dongyan’s counsel after the

meet and confer. Id. at ¶ 6. Klauber’s counsel followed up via email on August 8, 2024 and

Dongyan’s counsel failed to respond. Id. On August 15, 2024 Klauber’s counsel warned that

Dongyan must provide full discovery responses without objections and documents by close of

business the following day to avoid a motion to compel. Id. at ¶ 7-8, Ex. 3. Again, Dongyan never

responded. Id. To date, Dongyan has not provided any responses to the interrogatories or requests.

(Id. at ¶ 3.) Nor has Dongyan produced any evidence or documents in response to the requests.

(Id.) In sum, Dongyan has failed to meet the most basic discovery obligations. And, despite

Klauber’s providing ample opportunity to meet these obligations and warnings about this



                                              2
                                      MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 3 of 10 PageID #:1947




impending motion (Id. at ¶ 7-8, Ex. 3), Dongyan still failed to meet its obligations and forced

Klauber to file this motion.

       Despite Klauber’s attempts to resolve the dispute without Court intervention, Dongyan

refuses to provide any response or produce any evidence regarding key aspects of the case, such

as:

           •   Access: Dongyan has failed to produce any information regarding its knowledge,

               or employee’s knowledge, of Klauber, its designs, or attendance at trade shows

               where Klauber’s designs were shown, or any purchases of Klauber designs (See

               Barrett Decl. ¶ 2, Exh. 1, RFPD Nos. 3, 5-6, 10-12, 34-35, 41, ROG Nos. 1, 4, 16.)

           •   Third-party infringers: Dongyan has failed to produce any information regarding

               the manufacturer, vendor, or designer of the infringing product (id. at RFPD Nos.

               6, 8-9, 13, 17, 41; ROG Nos. 3-6.)

           •   Independent creation: Dongyan has failed to produce any information regarding

               its purported “independent creation” of the infringing products (id. at RFPD Nos.

               2, 4-5, 11-12, 17, 31, 40; ROG Nos. 2-4.)

           •   Scope of infringing activity: Dongyan has failed to produce any information

               regarding the scope of its infringing activity, such as provide any licensing

               agreements entered into with third parties for the design, the number of sales, the

               number of infringing products in storage, or any information regarding the

               advertisement and promotion of the infringing design (id. at RFPD Nos. 17-20, 22-

               27; ROG Nos. 7-10, 14.)

           •   Damages: Dongyan has failed to produce any information regarding the calculation

               of damages, such as any evidence of its gross revenues or supporting the purported


                                             3
                                     MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 4 of 10 PageID #:1948




                reductions from the gross revenues identified by Plaintiff (id. at RFPD Nos. 7, 13-

                16, 19-22, 27-31; ROG Nos. 10-12, 15, 17.)

            •   Willfulness: Dongyan has failed to produce any information regarding prior

                infringing activity, insurance policies maintained by Dongyans for infringement of

                third-parties rights, or knowledge of Klauber’s rights in the design (id. at RFPD

                No. 32-33; ROG Nos. 1, 13, 16).

         Klauber requests that this Court compel Dongyan to provide complete responses to all

interrogatories and requests for production, without objections, and produce all responsive

documents sought pursuant to the 41 requests for production immediately.

         Furthermore, due to Dongyan’s noncompliance with the Federal Rules, Klauber

respectfully requests that this Court issue sanctions against Defendant and its counsel for its

noncompliance.

   II.      ARGUMENT

            a. Dongyan failed to meet its discovery obligations and must be compelled to

                comply

         Because Klauber served discovery on Dongyan, and Dongyan failed to respond in any way

to that discovery and failed to supplement in any way even after Klauber’s meet and confer efforts

pursuant to NDIL Local Rule 37.2, Dongyan must now be compelled to comply with its discovery

obligations without objection.

         A party may move to compel where another party fails to respond to a discovery request

or gives an evasive or incomplete response. Fed. R. Civ. P. 37. “Parties may obtain discovery

regarding any non-privileged matter that is relevant to any party’s claim or defense.” Fed. R. Civ.

P. 26(b)(1). The court has broad discretion in resolving matters relating to discovery. Patterson v.



                                              4
                                      MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 5 of 10 PageID #:1949




Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002). When responding to interrogatories, a

party shall answer each interrogatory separately and “fully” in writing under oath. Fed. R. Civ. P.

33(b)(1) (emphasis added). In doing so, a party has a duty to provide “true, explicit, responsive,

complete and candid answers.” Hansel v. Shell Oil Corp., 169 F.R.D. 303, 305 (E.D. Pa. 1996);

Alexander v. F.B.I., 192 F.R.D. 50, 52 (D.D.C. 2000) (quoting Chubb Integrated Sys. Ltd. v. Nat’l

Bank of Was., 103 F.R.D. 52, 61 (D.D.C. 1984)).

       Federal Rule of Civil Procedure 34(b)(2)(A) requires a party to submit a proper response

to a document request within thirty days after service. A proper response has two components.

Novelty, Inc. v. Mountain View Mktg., Inc., 265 F.R.D. 370, 375 (S.D. Ind. 2009), clarified on

denial of reconsideration, 2010 WL 11561280 (S.D. Ind. Jan. 29, 2010). First, the responding

party must state in writing, for each category requested, that “inspection ... will be permitted as

requested” or, if the responding party objects, the basis of that objection. Fed. R. Civ. Pro.

34(b)(2)(B), (C). The second component of a proper response to a request for production requires

the responding party—within the specified time—to actually produce the responsive documents

for inspection or copying. See Langley v. Union Elec. Co., 107 F.3d 510, 513 (7th Cir.1997)

(upholding imposition of sanctions against party that failed to produce requested item for

inspection, even though no motion to compel had been filed at the time of the failure).

       Although the proponent of the motion to compel bears the initial burden of proving that

the discovery sought is relevant, if the discovery “appears relevant,” the burden shifts to the

objecting party to show why the request is improper. West v. Miller, 2006 WL 2349988, att *2

(N.D.Ill. Aug. 11, 2006). Here, however, there is no objection to the relevance of the requests by

Dongyan. In fact, there is no dispute regarding the nature or substance of the requests themselves




                                             5
                                     MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 6 of 10 PageID #:1950




because Defendant has failed to provide any objections—much less, any written response—to the

requests.

       Because Dongyan failed to timely respond, any of its objections are now waived in any

event. See Poulos v. Naas Foods, Inc., 959 F.2d 69, 74 (7th Cir.1992)(objections not timely

asserted were thus waived). Indeed, “it is firmly established in this Circuit that a party who fails to

timely respond to discovery requests waives his objections thereto.” Peterson v. Farrakham, No.

2:30CV319, 2005 WL 2465254, at *2 (N.D. Ind. Oct. 5, 2005). Here, Donyan failed to provide

responses to the discovery within 30 days of being served and did not even attempt to supplement

anytime thereafter even after receiving Klauber’s meet and confer correspondence. There is no

good cause for this delay, and Dongyan must be compelled to provide complete discovery

responses without any objections.

       Even if Dongyan can somehow show “an inability to conduct a search for responsive

documents”, Dongyan still ““ha[s] an obligation to seek appropriate extensions,” Lava Trading,

Inc. v. Hartford Fire Ins. Co., 2005 WL 459267, *9–10 (S.D.N.Y.2005), either by agreement or,

if necessary, by a motion for time under Fed. R. Civ. Pro. 6. See also, Novelty, Inc., 265 F.R.D. at

376, clarified on denial of reconsideration, 2010 WL 11561280. Dongyan has woefully failed to

meet this obligation. Not only has Dongyan shown no inability to conduct a search for responsive

documents, but it has failed to seek appropriate extensions.

       Given Dongyan’s plain disregard for its discovery obligations, and failure to cure,

supplement, or otherwise meaningfully respond to Klauber’s repeated correspondence, Dongyan

must now be compelled to respond and produce all responsive documents without objection. The

motion must be granted.




                                               6
                                       MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 7 of 10 PageID #:1951




   III.      SANCTIONS

          There is nothing complicated about the Federal Rules’ requirement to timely respond to

discovery requests. Despite multiple attempts to meet and confer, allowing an ample amount of

time to provide discovery responses and documents, and meeting and conferring, Dongyan has

still failed to meet its obligation in any way. Dongyan must therefore be sanctioned for it discovery

abuses and for forcing Klauber to bring this motion.

          Because Klauber’s motion should be granted, Dongyan and counsel are required to pay for

all costs borne by Klauber in bringing this motion, including attorneys’ fees. Indeed, Rule 37

makes such a sanction on prevailing discovery motions mandatory.


          If the motion is granted—or if the disclosure or requested discovery is provided
          after the motion was filed—the court must, after giving an opportunity to be heard,
          require the party or deponent whose conduct necessitated the motion, the party or
          attorney advising that conduct, or both to pay the movant's reasonable expenses
          incurred in making the motion, including attorney's fees.

Fed.R.Civ.P. 37(a)(5)(A). Indeed, even when a party engages in abusive and obstructive discovery

tactics by failing to properly respond to discovery requests in any way, the court may impose

sanctions directly, even without first issuing an order to compel discovery. Dotson v. Bravo, 202

F.R.D. 559, 570 (N.D. Ill. 2001), aff’d, 321 F.3d 663 (7th Cir. 2003). Despite its attempts to avoid

motion practice, Klauber has been forced to incur the expense of doing so. As such, the court

should award Klauber its expenses related to this motion as a sanction under Rule 37.

          The Court has broad discretion in deciding further appropriate sanctions for a discovery

violation. Hunt v. Da Vita, 680 F.3d 775, 780 (7th Cir. 2012). Under these powers, courts can

impose sanctions including default judgments and shifting attorney’s fees. JFB Hart Coatings,

Inc. v. AM Gen. LLC, 764 F. Supp. 2d 974, 982 (N.D. Ill. 2011). In addition, the inherent power

of federal courts “to manage their own affairs so as to achieve the orderly and expeditious

                                                7
                                        MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 8 of 10 PageID #:1952




disposition of cases” encompasses “the ability to fashion an appropriate sanction for conduct which

abuses the judicial process,” as well as the “power to punish for contempt.” Chambers v. NASCO,

Inc., 501 U.S. 32, 43–45 (1991). Courts may, in the exercise of their inherent powers, assess

attorney’s fees against a party that “shows bad faith by delaying or disrupting the litigation or by

hampering enforcement of a court order.” Id.

          There is no innocent or excusable mistake for Dongyan’s behavior. In the practice of law,

there are time limits imposed on litigants at every stage of the case—and the time limits explicit

in the Federal Rules of Civil Procedure are not illusory or flexible. “[L]awyers who do not pay

heed to deadlines do so at substantial peril to their and their clients’ interests. Even a day’s delay

can be fatal.” Raymond v. Ameritech Corp., 442 F.3d 600 (7th Cir. 2006)(“We live in a world of

deadlines.... The practice of law is no exception.”); Reales v. Consolidated Rail Corp., 84 F.3d

993, 996 (7th Cir. 1996). This is such a case.

          As a result of Dongyan’s noncompliance and evasive conduct during discovery, Klauber

is entitled to an award of sanctions in the amount of at least $1,430.00 for the attorneys’ fees

incurred in attempting to address Dongyan’s noncompliance and the bringing of this motion.

Barrett Decl., ¶ 9.

    IV.      CONCLUSION

          Clearly, Defendants’ failure to provide any response or objections to Plaintiff’s requests

runs afoul to the Federal Rules and is highly prejudicial to Plaintiff in this case. Thus, Plaintiff

respectfully requests relief from this Court by:

                 a. Entering an order to compel Defendant to provide timely written responses to

                      Plaintiff’s interrogatories and to produce responsive documents to the requests

                      for production within seven (7) days;



                                                8
                                        MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 9 of 10 PageID #:1953




              b. For the court to order Defendant to pay Plaintiff’s attorneys fees and costs

                  attributable to this discovery dispute thus far, in the amount of $1,430.00; and

              c. Whatever further relief the court deems appropriate.



Respectfully submitted,

Date: August 22, 2024                               By:     /s/ Trevor W. Barrett
                                                            Trevor W. Barret, Esq.
                                                            Mackenzie Paladino, Esq.
                                                            DONIGER / BURROUGHS
                                                            Attorneys for Plaintiff




                                             9
                                     MOTION TO COMPEL
  Case: 1:23-cv-10407 Document #: 191 Filed: 08/22/24 Page 10 of 10 PageID #:1954




                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 22, 2024, I will electronically file the foregoing with the

Clerk of the Court using the CM/ECF system, I will electronically publish the documents on a

website, and I will send an e-mail address to the e-mail addresses provided for Defendants by

third parties that includes a link to said website.

                                                      Respectfully submitted,

                                                      /s/ Trevor W. Barrett
                                                      Trevor W. Barrett, Esq. (Pro Hac Vice)
                                                      DONIGER / BURROUGHS
                                                      247 Water Street, First Floor
                                                      New York, New York 10038
                                                      tbarrett@donigerlawfirm.com
                                                      (310) 590-1820
                                                      Attorney for Plaintiff




                                              10
                                       MOTION TO COMPEL
